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                             EXHIBIT F
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Gabby Hamm

From:                 Dylan Ciciliano
Sent:                 Tuesday, March 23, 2021 8:24 AM
To:                   Connell, Monica; Gregory Garman; pneligan@neliganlaw.com; dbuncher@neliganlaw.com; Gabby
                      Hamm
Cc:                   Van Horn, Eric
Subject:              Re: Documents


No problem. The production includes several of the categories below and we’ll be supplementing with a few more.

Get Outlook for iOS

From: Connell, Monica <Monica.Connell@ag.ny.gov>
Sent: Tuesday, March 23, 2021 10:53:27 AM
To: Dylan Ciciliano <dciciliano@Gtg.legal>; Gregory Garman <Ggarman@Gtg.legal>; pneligan@neliganlaw.com
<pneligan@neliganlaw.com>; dbuncher@neliganlaw.com <dbuncher@neliganlaw.com>; Gabby Hamm
<ghamm@Gtg.legal>
Cc: Van Horn, Eric <ericvanhorn@spencerfane.com>
Subject: RE: Documents

Sorry for the confusion. I have not yet reviewed that production yet and was not aware that it included the documents
requested below.

From: Dylan Ciciliano <dciciliano@Gtg.legal>
Sent: Tuesday, March 23, 2021 10:47 AM
To: Connell, Monica <Monica.Connell@ag.ny.gov>; Gregory Garman <Ggarman@Gtg.legal>; pneligan@neliganlaw.com;
dbuncher@neliganlaw.com; Gabby Hamm <ghamm@gtg.legal>
Cc: Van Horn, Eric <ericvanhorn@spencerfane.com>
Subject: Re: Documents

Monica,

I sent the production this morning under a separate cover to include all counsel.

Dylan

Get Outlook for iOS

From: Connell, Monica <Monica.Connell@ag.ny.gov>
Sent: Tuesday, March 23, 2021 10:46:03 AM
To: Dylan Ciciliano <dciciliano@Gtg.legal>; Gregory Garman <Ggarman@Gtg.legal>; pneligan@neliganlaw.com
<pneligan@neliganlaw.com>; dbuncher@neliganlaw.com <dbuncher@neliganlaw.com>; Gabby Hamm
<ghamm@Gtg.legal>
Cc: Van Horn, Eric <ericvanhorn@spencerfane.com>
Subject: RE: Documents

Sure, with a reservation of rights and assuming you provide information on any documents redacted or withheld
sufficient so we can determine whether to challenge such redactions or withholding.
                                                           1
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From: Dylan Ciciliano <dciciliano@Gtg.legal>
Sent: Tuesday, March 23, 2021 12:03 AM
To: Connell, Monica <Monica.Connell@ag.ny.gov>; Gregory Garman <Ggarman@Gtg.legal>; pneligan@neliganlaw.com;
dbuncher@neliganlaw.com; Gabby Hamm <ghamm@gtg.legal>
Cc: Van Horn, Eric <ericvanhorn@spencerfane.com>
Subject: RE: Documents

[EXTERNAL]
Monica,

We can confirm that we will produce the below materials subject to privilege redactions and confidentiality designations
where appropriate, as well as minor corrections. For example, Mr. Frazer believes his recollection of reviewing emails
relating to Woody Phillips was mistaken.

Dylan T. Ciciliano, Esq.
Attorney

Phone: 725 777 3000 | Fax: 725 777 3112
GARMAN | TURNER | GORDON
7251 AMIGO STREET, SUITE 210
LAS VEGAS, NV 89119
 Visit us online at www.gtg.legal


From: Connell, Monica <Monica.Connell@ag.ny.gov>
Sent: Monday, March 22, 2021 4:46 PM
To: Gregory Garman <Ggarman@Gtg.legal>; Dylan Ciciliano <dciciliano@Gtg.legal>; pneligan@neliganlaw.com;
dbuncher@neliganlaw.com; Gabby Hamm <ghamm@Gtg.legal>
Cc: Van Horn, Eric <ericvanhorn@spencerfane.com>
Subject: Documents

Counsel,

We seek production of the following documents. We ask that you let us know tonight that you will produce the same or,
if we are mistaken, identify where we might find the same in the NRA’s production.:

        Documents that support the calculation of the excess benefit transactions identified in the NRA’s 2019 IRS Form
         990 including but not limited to the specific invoices from Gayle Stanford and her related entities which were
         used to calculate excess benefit transactions identified in the NRA’s 2019 IRS Form 990.
        Conflict of interest forms for officers, board members and key persons for 2019 and 2020.
        Security plan – Documents referred to by Mr. LaPierre which was support his assertion that there was a basis for
         and/or a security plan developed in relation to his security.
        Emails from Spray to Frazer and Rogers about Allegiance Creative Group that Frazer reviewed.
        Contracts related to Allegiance Creative Group that Mr. Frazer reviewed.
        Emails regarding Woody Phillips that Mr. Frazer testified that he had reviewed.
        Business case analyses for Neligan and Garman retention.
        Also transcript of the Jan 2021 board meeting.
        MMP memo regarding increased fees that Ms. Rowling mentioned during her deposition

Thank you,

Monica
                                                            2
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--------------------------------------------
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